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United States District Court
for the District of l\fiaryland
(Northem Division)

NIECHAEL G. STUART, Imji\/ic{ua\l!y1 and as
Administrator and Personal Representative
of the Estate of ALEXANDER REY STUART
6 Carriage Lane

Georgetown, De|aware 19947

and

RODN|CA D_ CANNON, as Parent, Next COMPLA|NT
Friend and Legal Guardian of

ALEXES \/|CTOR|A STUART, Surviving Minor Civil No.:

Chiid of A!exancier Rey Stuart
25643 E|dert Street

Mobi! Gardens

Seaford, Delaware 19973

and

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§
V|CTOR|A L. BOLDEN )
409 VVeSt "i'th Street )
Laurei, De|avvare 19956 )
) JURY TR|AL DEMANDED
Plaintiffs )
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V.

PENENSULA REGEON/-\L MEDICAL CENTER
100 East Carro|| Street
Sa|isbury, I\/laryiand 21801

Serve On: ResidentAgent:

Danie\ J. l\/lulvanny .

Peninsu|a Regiona| l\/!edical Center
100 East Carro|i Street

Sa|isbury, i\/iaryland 21801

and

E|V|ERGENCY SER\/|CE ASSOC|ATES, P.A..
100 East Carro|| Street
Sa|isbury, Maryiand 21801

 

 

 

 

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Serve On: ResidentAgent
deffrey T. Greenwood, !VI.D.
100 East Carrol| Straet
Safisbury, E\/lary|and 21801

and

SEAN D. DAKSHAW, D.O.

105 Hawkes Point

New Bern, North Caro|ina 28560

Defandants

VVVVVVVVVVVVVVV

 

CONIPLA|NT
P|aintiffs, Micnae| G. Stuan, lndividuafly, and as Administrator and Personal
Representative of the Estate of Alexander Rey Stuan, Rodnica D. Cannc)n, as Parent,
Next Friend and Lega! Guardian of Alexis Victoria Stuart, Surviving I\Hinc)r Cni|d of
/-\lexander Rey Stuart, and \/ictoria L. Bo|den, by their attorneys Jack D. i_el:)owitz,
\/adim A. Mzhsn, and Lebowitz & |V|zhen. LLCl sue Dafendants, Paninsu|a Regic)nal
I\fledica[ Center, Emergency Service Associates, P.A. and Sean D. Dakshaw, D.O., and

state as follows:

Factua| Al|egations

1. F’laintiffs, i\/lichaet G. Stuan, |ndi\/idual|y, and as Administrator and
Persc)na| Rspresentative ofthe Estata of Alexander Ray Stuart, Rodnica D. Cannon, as

Parent, Next Friend and Lega| Guardian ofAlexis Victoria Stuart, Sun/iving Nlinor Chi|d

 

 

 

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of Alexander Rey Stuart, and Victoria L. Boiden (collective|y referred to as the
"Plaintiffs") are citizens and residents of the State of Delavvare.

2. Defendants, Peninsula Regionai l\/ledical Center (also referred to herein
as “PRl\/lC”) and Emergency Services Associates, P.A. are corporations vvhose principal
places of business are in the State of l\/laryland. The Defendant, Sean D. Dal<shavv,
D.O. is a citizen and resident of the State of North Caro|ina.

3. The various negligent acts set forth in the instant Comp|aint occurred in
the State of l\!laryland, V\i'icornico County.

4. The amount of this controversy exceeds, exclusive of interest and costs,
Seventy Five Thousand ($75,000.00) Do|lars.

5. Jurisdiction exists under Tit|e 28 USCA Section 1332_

6. A Statement of C|aim was filed vvith the l-lea|th Care A|ternative Dispate
Resolution Office as required under l\/laryland lavv, and arbitration ofthe claim vvas
vvaived by the Plaintiffs pursuant to Section 3~2A-06B(b) of the Courts and Judiciai
Proceeding /-\rticle. The Waiver of Arbitration, Certificate of Qualified Expert vvith expert
report, and Statement of Clairn Which Were filed before the Health Care Alternative
Dispute Reso|ution Office are attached as E)<hibit A, Exhibit B, and Exhibit C,
respectively The Order of Transfer is attached as E)<hibit D_

7. The l_ate Alexander Rey Stuart Was born on December 28, 1984, and he
died on Apri| 3, 2010 at the age of 25 years.

8. The P|aintiff, l\/lichael G. Stuart, is the surviving Father of Late Alexander
Rey Stuart. l\/iichael G. Stuart is a primary beneficiary in this action pursuant to Section

3-904(a) ofthe Courts and Judicial Proceedings /-\rticle.

 

 

 

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9. On July 28, 2010, l\/lichae| G. Stuart Was appointed the Administrator of
the Estate of Alexander Rey Stuart by the Register cf Wil!s for Sussex County in the
State cf De|avvare, The appointment has since been extended

10. A|exis Victoria Stuart, age 2, vvas born on Ju|y 2, 2009, and she is the
surviving l\/tinor Child of the i_ate /-\lexander Rey Stuart. A|exis Victoria Stuart, by and
through the P|aintiff, Rodnica D. Cannon, her Parent, Next Friend and l_ega| Guardian,
is a primary beneficiary in this action pursuant to Section 3~904(a) of the Courts and
Judiciai Proceedings Artic|e.

11. The P|aintiff, Victoria L. Eio|denl is the surviving ivlother of l_ate Alexander
Rey Stuarti \/ictoria L. Bolden is a primary beneficiary in this action pursuant to Section
3-904(a) of the Courts and dudicial Proceedings Artic|e.

12. At ali times pertinent to this case, Defendants, Peninsuia Regional t\/Iedicai
Center, Emergency Services Associates, P.A. and Sean D. DakshaW, D.O. (referred to
coltectively as the "Defendants“), held themselves out to the Plaintiffs and to the general
public as experienced competent and able health care providers possessing or
providing that degree of ski|i and knowiedge ordinarily possessed by those Who practice
emergency medicine The Defendants and their employees and/or agents owed a duty
to the Alexander Rey Stuart to render that degree of care and treatment ordinarily
rendered by those vvho practice emergency medicine

13. At atl times pertinent to this case, Defendant, Emergency Services
/?\ssociates1 P_A., vvas a professionat association and ottered, through it employees

including Sean D. Dakshaw, D.O., medical services to the general public As such, it

 

 

 

 

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held itself out as practicing ordinary standards of medical care, including appropriate
emergency medicine care.

14. /-\t all times pertinent to this case, Defendant Sean D. Dakshaw, D.O. vvas
an agent and/or employee of the Defendants Emergency Services Associates, P.A. and
the Peninsula Regional l\/iedica| Center.

15. At all times pertinent to this case, Kellie Philtips, P.A. and other
unidentified health care providers vvere agents and employees of the Defendant,
Emergency Services Associates, P.A.

16. At all times relevant to this case, Carol Fisher, R_N., Robin i\/iorrison, R.N.,
V\/endy Sheiton, R.|\l., Gerundio Denague, R.N., Daryl l-loithoff, R.l\l. and other
unidentihed health care providers Were agents and employees of the Defendantl
Peninsula Regional l\/ledical Center.

17_ On i\/larch 31, 2010, Aiexander Rey Stuart presented to the emergency
room of the Peninsula Regional Medicai Center. Alexander Rey Stuart vvas seen at the
emergency room of the Peninsr.ila Regional l\/ledicai Center With complaints or' back
painl Alexander Stuart Was diagnosed With a lumbar strain and sprain1 and he Was
released from the emergency room of the Peninsula Regicnal l\/ledical Center.

18. The next day, Apri! 1, 2010, Alexander Rey Stuart again presented to the
emergency room ofthe Peninsula Regional ll/ledical Center vvith complaints of back
pain. The pain vvas so severe that the PRlViC emergency room records indicate that
Aiexander Rey Stuart strapped potatoes to his back in an effort to remove his "fever."
The Peninsula Regional l\/Eedicai Center records further reflected that Alexander Rey

Stuart had an elevated White blood count ot14.7 With a left shift, he Was tachycardic

 

 

 

 

 

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(eievated heart rate) With his pulse documented at 108 beats per minute, and he had
abnormal protein in his urine l\/lr. Stuart Was given lV Morpine, Torado| and Zofran for
pain reiief, and he Was discharged With a continuing diagnosis of tumbosacral
sprain/strain

19. The next day, April 2, 2010, Aiexander Stuart returned to the emergency
room of the Peninsula Regional l\/ledical Centertor the third consecutive day. Within
the emergency room of the Peninsula Regionai l\/ledical Center, A|exander Rey Stuart
Was a patient under the care of the Detendants, Emergency Services Associates, P.A.
and Peninsuia Regional i\/ledical Center.

20. On April 2, 2010, it is alleged that the Defendant1 Sean D. Dakshavv, D.O.,
vvas the physician agent and/or employee of the Defendant, Emergency Services
Associates, P.A., and he Was responsibie for attending to the emergency care required
by Aiexander Rey Stuart. lt is also alleged that Ke|iie Phillipsl P.A. vvas a physician's
assistant of the Defendant, Emergency Services Associates, F’.A., and she vvas also
responsible for attending to the emergency care required by Alexander Rey Stuart. in
addition, Carol Fisher, R.N., Robin i\!lorrison, R.N., Wendy Shelton, R.N., Gerundio
Denaque, R.N_, Daryl i-{oithoff, R,N, Were registered nurses cf the Defendant Peninsuia
Regional l\/ledicai Center responsible for attending to the emergency medicine care
required by Alexander Rey Stuart.

21. On Aprii 2, 2010, A|exander Rey Stuart again compiained to the
Defendants of back pain that Was getting Worse, not betterl despite the visits to the

emergency room ofthe Peninsuia Regional l\fledical Center on the previous two days.

 

 

 

 

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Aiexander Stuari was having difhcu|ty wail<ing. Alexander Rey Stuart's tachycardia had
worsened, with a pulse rate of 130 beats per minute, with no explanation

22. V\Iith a history from the day before of an eievated white count with a left
shitt, protein in his urinel worsening tachycardia, and worsening painr it is alieged that,
under the appiicable standards of care, these signs, symptoms and diagnostic findings,
required Alexander Rey Stuart to receive an extensive workup in the emergency room
of the Peninsula Regionai l\/|edical Center that included a repeat CBC, cardiac
enzymes, a chest x-ray, a check of his electrolytes, and a repeat of his urinalysis.

23. Had those studies been done by the Defendants, it alleged that the
Defendants would have found Alexander Stuart’s already previously elevated white
count had increased still further, and additional abnormalities in his urine, that combined
with his complaints of pain and known tachycardia, would have led to the diagnosis of
sepsm.

24. it is alieged at the time of Alexander Rey Stuart's April 2, 2010 visit to the
emergency room of the Peninsula Regional l~lospital, the standards of care Wculd have
compei|ed the immediate initiation of antibiotic treatment in the emergency room in
order to avoid the consequences of sepsis. it is alleged that the Defendants, and their
agents and/or employeesl including physicians, physician's assistants, and nurses,
violated this standard of care.

25. lt is further alleged that at the time of Alexander Rey Stuart's April 2l 2010
visit to the emergency room of the Peninsula Regiona| Hospita|, the standards Of care
compeiled Alexander Rey Stuart's immediate admission to the Peninsula Regional

t\/|edical Center, where he should have received lV antibiotics and i\/ hydration, with

 

 

 

 

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appropriate observation lt is alleged that the Defendants, and their agents and/or
employeesl including physicians, physician's assistants, and nurses, violated this
standard of care

26. Alexander Rey Stuart was never seen by a medical doctor on the
Peninsu|a Regionai l\/ledical Center emergency room visit of April 2, 2010, and his care
was undertaken by a physician's assistant, Kellie Phillips, P.A., and various nurses,
only. ln tight of Aiexander Stuart‘s clinical presentation that was worsening without any
explanation, and the fact that Aiexander Stuart had sought medical attention in the
emergency room of Peninsuia Regionai i\/ledical Center on three consecutive days, it is
alleged that the standard of care required that Alexander Rey Stuart be seen, examined
and personaily evaluated by a physician lt is aileged that the Defendants, and their
agents and/or en"ip|oyessl including physicians physician's assistants, and nurses1
violated this standard of care.

27. Alexander Rey Stuart was released from the emergency room of PRl\/lC
on Aprii 2, 2010, With a diagnosis of "Local pain affecting the low back (non traumatic)
[and] |_umbosacra| Sprain/Strain." The release Was approved by the Defendant Sean
D. Dakshavv, D.O. who "as the supervising staff physician concur[red] on the final
disposition."

28. lt is ai|eged at the time ofAlexander Rey Stuart's April 2, 2010 visit to the
emergency room ofthe Peninsula Regional i-lospitall that Defendants’, and their agents’
and/or empioyees’, inciuding physicians', physician's assistants’, and nurses’ failure to
provide a hands on evaluation by a physician, failure to administer antibiotics failure to

complete a fui| wori<up, including a iaboratory workup, failure to admit Alexander Rey

 

 

 

 

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Stuart to the hospital, and failure to initiate meaningful observation within the Peninsula
Regional l\/iedical Center violated accepted standards of care

29. lt is alleged that as a result of the failures to comply with the standards of
care that would have resulted in the immediate administration of antibioticsl a hospitai
admission1 and observation that would have successfully treated A|exander Stuart's
sepsis. A|exander Stuart was reieased from the emergency room of the Peninsu|a
Regional l\/iedicai Center on April 2. 2010. lt is alleged that Defendants and their
agents and/or empioyees, including physicians physician's assistantsl and nursesl
violated this standard of care

30. As a result of the failure to provide competent medicai care that complied
with the accepted standards of care, Aiexander Stuart's condition was allowed to remain
untreated and worsen and develop into septic shock.

31. Alexander Rey Stuart returned to the emergency room of PRi\/lC on the
morning of Aprii 3, 2010, but despite efforts on this day to treat his illness, including for
the first time the administration of antibiotics, Aiexander Rey Stuart's condition by then
was too dire and he couid not be saved Alexander Stuart died on Aprii 3, 2010 at the
age of 25.

32. lt is aileged that as a direct and proximate result of the Defendants' failure
to property evaluate and treat A|exander Rey Stuart in conformity with the accepted
standards of care on Aprii 2, 2010, Alexander Rey Stuart died on April 3, 2010.

33. lt is aileged that on April 2l 2010, had the Defendants provided Aiexander
Rey Stuart With medical treatment that conformed to the accepted standards of medicai

care, including emergency medicine carel A|exander Rey Stuart would have been

 

 

 

 

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successfully treated for sepsis. and Aiexander Rey Stuart would have gone on to a fuil
and complete recovery

34. The Defendantl Emergenoy Service Associatesl P.A., through its agents
and/or empioyees, Sean D. Dai<shaw, D.O. and Keiiie Philiips, P.A., and its borrowed
servants, Caroi Fisher, R.N., Robin i\fiorrison, R.N., Wendy Shelton, R.l\t., Gerundio
Denaquel R.N., Dary| Hoithofi, R.l\i., and other unidentified individuais, were negligent
and careless in that they faiied to appreciate the ominous signs of life threatening iilness
and sepsis that required immediate administration of antibioticsl a hospital admission,
and observation on April 2, 2010. This negligence resuited in Alexander Rey Stuart‘s
death from septic shock on April 3, 2010.

35. The Defendant, Peninsula Regionai l\/ledicai Center1 through it agents
and/or empioyees, Sean D. Dai<shaw, D.O., Keilie Phil|ips, P.A., Carol Fisher1 R.i\l.,
Robin i\/iorrison, R.N., V\Iendy Shelton, R.l\l., Gerundio Denaque, R.N., Daryi Hoithoff,
R.N., and other unidentified individuals, were negligent and careiess in that they failed
to appreciate the ominous signs of iife threatening illness and sepsis that required
immediate administration of antibioticsl a hospitai admission, and observation on April
2, 2010. This negligence resulted in Alexander Rey Stuart's death from septic shock on
Apri| 3, 2010.

36. The Defendants were negligent and careless and violated standards of
care in that they failed to render appropriate emergency medicine care and emergency

nursing care to Alexander Rey Stuart, and were in other ways negligent and careless

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Count| - Surviva| Action

 

Nlichaei G. Stuart, as Administrator and Persona| Representative
of the Estate of A|exander Rey Stuart

37. The P|aintiff, Michaei G. Stuart, as Administrator and Personal
Representative of the Estate of Alexander Rey Stuart, incorporates F’aragraphs t
through 36 of the Compiaint as if they were fully set forth at length herel and by his
attorneys, Jack D. l_ebowitz, Vadim A. l\/lzhen, and i_ebowitz & i\)‘lzhen1 LLC, sues
Defendants, Peninsula Regiona| l\/ledical Center, Emergency Service Associatesl P.A_
and Sean D. Dai<shaw, D.O., (referred to coilectively herein as the "Defendants") in a
survival action pursuant to Section 7-40t ofthe Estates and Trust /-\rticle.

38. On /i\pril21 20101 the Defendants1 Peninsula Regiona| l\/iedica| Center,
Emergency Service Associates, PiA, and Sean D. Dal<shaw, D.O., owed Alexander Rey
Stuart a duty to provide medical care and treatment that was reasonable and complied
with the standards of medical carel including emergency medicine care

39_ On Aprii 2, 2010, by failing to render medical care and treatment to
Aiexander Rey Stuart that was reasonable and complied with the standards of medicai
care, including emergency medicine care, the Defendants breached the duties owed to
Alexander Rey Stuart, and the Defendants thereby caused advancement of sepsis into
septic shock which resuited in Aiexander Rey Stuart's injuries and subsequent death on
April 3, 2010.

40. Although severely injured by the failure to treat his sepsis. Alexander Rey
Stuart was conscious and living during the emergency room presentation that began at

approximately 3:40 p.m. on April 2, 2010, surviving until the time of his death at

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approximately 6:18 p.m. on April 3, 2010 -- a period of severe conscious pain and
suffering in excess of 26 hours.

41. As a direct and proximate result of the negligence and carelessness of the
Defendants, Peninsula Regional l\/ledical Center, Emergency Service Associates, P./-\.
and Sean D_ Dakshaw, D.O. in failing to render medical care and treatment to
Alexander Rey Stuart that was reasonable and complied with the standards of medical
carel including emergency medicine care, Alexander Rey Stuart sustained severe
conscious pain and suffering between the time of the negligent and careless medical
care and treatment that began at approximately 3:40 p.m. on April 2, 2010 and the time
of his death at approximately 6:18 p.m. on i'-\pril31 2010.

VVHEREFORE, l\/iichaei G. Stuart, as Administrator and Personai Representative
of the Estate of Alexander Rey Stuart, Deceased, claims damages against the
Defendants, Peninsula Regionai i\/ledicai Center, Emergency Service r-`\ssociatesl P.A.
and Sean D, Dakshaw, D.O., in an amount to be determined by a jury, together with all

costs, and any and all other relief to which this Court finds him entitled

Count ll - Wroanui Death Action
lVlichaei G. Stuart
42. The Plaintiff. l\/iichael G. Stuart, incorporates Paragraphs 1 through 41 of
the Compiaint as if they were fully set forth at iength here, and by his attorneys, deck D.
Lebowitz, Vadim A. |Vlzhen, and Lebowitz & |\Azhen, LLC, sues Defendants, Peninsula
Regional l\/ledicai Center, Emergency Service Associates, P.A. and Sean D. Dakshaw,

D.O. (referred to collectively as the "Defendants") in a wrongqu death claim pursuant to

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Sections 3~901 through 3-904 ofthe Courts and Judicia| Proceedings Article ofthe
l\/lary|and Code /-\nnotated.

43. On April 2, 2010, the Defendants, Peninsula Regional l\/iedical Center,
Emergency Service Associates, P.A. and Sean D. Dakshaw, D.O., owed Alexander Rey
Stuart a duty to provide medical care and treatment that was reasonable and complied
with the standards of medical care, including emergency medicine care.

44_ On April 2l 2010, by failing to render medical care and treatment to
A|exander Rey Stuart that was reasonable and complied with the standards of medical
care, including emergency medicine care, the Defendants breached the duties owed to
A|exander Rey Stuart, and the Defendants thereby caused advancement of sepsis into
septic shock which resulted in Alexander Rey Stuart's injuries and subsequent death on
April 3, 2010.

45. As a direct and proximate result of the negligence and carelessness of the
Defendants, Peninsula Regional i\/ledicai Center1 Emergency Service rf\ssociatesl F’.A.
and Sean D. Dakshaw, D.O. in faiiing to render medical care and treatment to
Alexander Rey Stuart that was reasonable and complied with the standards of medical
carel including emergency medicine care1 and for which Alexander Rey Stuart would
have been able to maintain an action against the Defendants had he lived, Alexander
Rey Stuart sustained fatal bodily injuries and he was pronounced dead at Peninsula
Regional l\/ledical Center at approximately 6:18 p.m. on Aprii 3, 2010.

46. As a direct and proximate result ofthe Defendants' negligence in causing
the death of f-\lexander Rey Stuart, l\/lichael G. Stuart, Surviving Father of A|exander

Rey Stuart, sustained pecuniary loss, mental anguish, emotional pain and suffering,

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loss of love, loss of society, loss of companionship, loss of comfort, loss of protection,
loss of attention, loss of advice, loss of fiiiai care, loss of counsel, and ioss of guidance

47. This Comp|aint is timely filed within three years after the death of
A|exander Rey Stuart pursuant to Section 3-904(g) ofthe Courts and Judicia|
F’roceedings Article of the l\/iaryland Code Annotated.

VVHEREFORE, Plaintiff l\/lichael G. E`>tuartl Surviving Father of Alexander Rey
Stuart, Deceased, claims damages against the Defendants, Peninsula Regional l\/ledicai
Center, Emergency Service Associates, P.A. and Sean D. Dakshaw, D.O., in an amount
to be determined by a jury, together with ali costs, and any and all other relief to which

this Court finds him entitled

Count ||l - Wroanul Death Action
Victoria L. Bolden

48. The Plaintiff, Victoria L. liioldenr incorporates Paragraphs f through 47 of
the Complaint as if they were fui|y set forth at length here, and by her attorneys, Jack D.
Lebowitz, Vadim A. l\/izhen, and Lebowitz & l\/lzhen, LLC, sues Defendants, Peninsula
Regional l\/ledica| Center, Emergency Service )L\ssociatesl P.A. and Sean D. Dakshaw,
D.O. (referred to collectively as the "Defendants") in a wrongful death claim pursuant to
Sections 3-901 through 3-904 of the Courts and Judicial Proceedings Articie ofthe
l\/laryland Code Annotated.

49. On April 2, 2010, the Defendants, Peninsula Regional l\/ledical Center,

Emergency Service Associates, P.A. and Sean D. Dakshaw, D.O., owed Alexander Rey

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Stuart a duty to provide medical care and treatment that was reasonable and complied
with the standards of medical care, including emergency medicine care

50. On Aprii 2, 2010, by failing to render medical care and treatment to
Alexander Rey Stuart that was reasonable and complied with the standards of medical
care, including emergency medicine care, the Defendants breached the duties owed to
Alexander Rey Stuart, and the Defendants thereby caused advancement of sepsis into
septic shock which resulted in Alexander Rey Stuart's injuries and subsequent death on
Aprii 3, 20t0.

51. As a direct and proximate result of the negligence and carelessness ofthe
Defendants, Peninsuia Regional lVledical Center, Emergency Service Associates, P.A.
and Sean D. Dakshaw1 D.O. in failing to render medical care and treatment to
Alexander Rey Stuart that was reasonable and compiled with the standards of medical
care, including emergency medicine care, and for which Alexander Rey Stuart would
have been able to maintain an action against the Defendants had he lived, Aiexander
Rey Stuart sustained fatal bodily injuries and he was pronounced dead at Peninsula
Regiona| l\/ledical Center at approximately 6:18 p.m. on April 3, 2010.

52. As a direct and proximate result of the Defendants' negligence in causing
the death of Alexander Rey Stuart, \/iotoria L. Bo|den, Surviving l\flother ofAlexander
Rey Stuart, sustained pecuniary loss, mental anguish, emotionai pain and suffering,
loss of love, loss of society, loss of companionshipl loss of comfort, loss of protection,

loss of attention1 loss of advice, loss of t"ilial care, loss of counsei, and loss of guidance

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53. This Compiaint is timely filed within three years after the death of
Alexander Rey Stuart pursuant to Section 3-904(g) of the Courts and Judioia|
Proceedings /-\rticle ofthe l\/laryland Code Annotated.

WHEREFORE, Plaintiff Victoria L. Bo|den, Surviving l\/lother of Alexander Rey
Stuart, Deceased, claims damages against the Defendants, Peninsula Regional l\f|edical
Center, Emergency Service Associatesl P.A. and Sean D. Dakshaw, D.O., in an amount
to be determined by a jury, together with ail costs, and any and all other relief to which
this Court finds her entitled

Count iV ~ Wroanul Death Action
Rodnica D. Cannon, as Parent, Next Friend and
Legal Guardian of Alexis Victoria Stuart

54. The Plaintiff, Rodnica il Cannon, as Parent, l\lext Friend and Legal
Guardian of Alexis Victoria Stuart incorporates Paragraphs 1 through 53 of the
Compiaint as if they were fuily set forth at length herel and by her attorneys, Jacl< D.
l_ebowitz, Vadim A. l\/lzhen, and Lebowitz & l\/lzhen, LLC, sues Defendants, Peninsula
Regional l\/ledical Centerl Emergency Service Associates, P.A. and Sean D. Dakshaw,
D_O_ (referred to collectively as the "Defendants") in a wrongful death claim pursuant to
Sections 3-901 through 3-904 ofthe Courts and Judicial Proceedings Article of the
l\/|aryland Code Annotated.

55. On Apri! 2, 2010, the Defendants, Peninsula Regionai l\/iedical Center,
Emergency Service Associates, P.A. and Sean D. Dakshaw1 D.O., owed Alexander Rey
Stuart a duty to provide medical care and treatment that was reasonable and complied

with the standards of medical care, including emergency medicine care

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56. On April 2, 2010, by faiiing to render medical care and treatment to
Alexander Rey Stuart that was reasonable and complied with the standards of medical
care, including emergency medicine care1 the Defendants breached the duties owed to
Aiexander Rey Stuart, and the Defendants thereby caused advancement of sepsis into
septic shock which resulted in Alexander Rey Stuart's injuries and subsequent death on
April 3, 2010.

57. As a direct and proximate result ofthe negligence and carelessness of the
Defendants, Peninsula Regional l\/ledical Center, Emergency Service Associates, P.A.
and Sean D. Dakshawl D.O. in failing to render medical care and treatment to
A|exander Rey Stuart that was reasonable and complied with the standards of medical
care, including emergency medicine care, and for which /-\lexander Rey Stuart would
have been able to maintain an action against the Defendants had he lived, Alexander
Rey Stuart sustained fatal bodily injuries and he was pronounced dead at Peninsula
Regional l\/ledical Center at approximately 6:18 p.m. on /-\pril 3, 2010.

58. As a direct and proximate result of the Defendants‘ negligence in causing
the death of Alexander Rey Stuart, Aiexis Victoria Stuart, Surviving l\/iinor Child of
Alexander Rey Stuart, sustained pecuniary loss, mental anguish, emotional pain and
suffering loss of love loss of society, loss of companionship. loss of comfort, loss of
protection loss of parental care loss of attention, loss of advice, loss of counsei, loss of
guidance and loss of education

59. This Comp|aint is timely filed within three years after the death of
Alexander Rey Stuart pursuant to Section 3-904(g) of the Courts and .ludicial

Proceedings Article of the lVlaryland Code Annotated.

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V\il-IEREFORE, Plaintiff Rodnica D. iC§annonl as Parent, Next Friend and Legal
Guardian of Alexis Victoria Stuart, Surviving l\/iinor Child of Alexander Rey Stuartl
Deceased, ciaims damages against the Defendants, Peninsula Regional l\/ledical
Center, Emergency Service Associates, P.A. and Sean D. Dakshawl D.O., in an amount
to be determined by a jury, together with all costs, and any and ai| other relief to which

this Court finds her entitled

The Piaintiffs demand a trial by jury_

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.lackD Lebowitz(FederlBarNo10787)

  

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Vadim A. iVlzhen

 

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Lebowitz & l\/lzhen, LLC

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410-654-BBOt (fax)

emai|: jd|ebowitz@comcast.net

lVlichael G. Stuart, lndividually, and as Administrator and Personai
Representative of the Estate of Alexander Rey Stuartl

Rodnica D. Cannonl as Parent, Next i-`riend and Legal Guardian of
Alexis Victoria Stuart, Surviving l\/linor Chi|d of A|exander Rey
Stuart, and Victoria l_. Bo|den

 

DATED this 1st day of September, 2011.

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